     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 1 of 49



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

EXXON MOBIL CORPORATION,                     §
                                             §
                         Plaintiff,          §
                                             §
v.                                           §
                                             §
ERIC TRADD SCHNEIDERMAN,                     §    NO. 4:16-CV-469-K
Attorney General of New York, in his         §
official capacity, and MAURA TRACY           §
HEALEY, Attorney General of                  §
Massachusetts, in her official capacity,     §
                                             §
                         Defendants.         §
                                             §


                EXXONMOBIL’S FIRST AMENDED COMPLAINT
                FOR DECLARATORY AND INJUNCTIVE RELIEF

       Exxon Mobil Corporation (“ExxonMobil”) brings this action seeking declaratory

and injunctive relief against Eric Tradd Schneiderman, the Attorney General of New

York, in addition to Maura Tracy Healey, the Attorney General of Massachusetts.

Attorneys General Schneiderman and Healey have joined together with each other as well

as others known and unknown to conduct improper and politically motivated

investigations of ExxonMobil in a coordinated effort to silence and intimidate one side of

the public policy debate on how to address climate change.         ExxonMobil seeks an

injunction barring the enforcement of a subpoena issued by Attorney General

Schneiderman and a civil investigative demand (“CID”) issued by Attorney General

Healey to ExxonMobil, and a declaration that the subpoena and CID violate

ExxonMobil’s rights under federal and state law. As demonstrated in this amended

pleading, the same claims and arguments asserted against Attorney General Healey apply
    Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 2 of 49



with equal force against Attorney General Schneiderman.                   For its First Amended

Complaint, ExxonMobil alleges as follows based on present knowledge and information

and belief:

                                       INTRODUCTION

                Frustrated by the federal government’s apparent inaction on climate

change, Attorney General Schneiderman assembled a coalition of state attorneys general,

including Attorney General Healey, to use law enforcement powers as a means of

promoting a shared political agenda.            According to an agreement executed by its

members, this coalition embraced two goals.1 First, it sought to “limit[] climate change”

by pressing for a reduction in the use of fossil fuels.2 Second, the coalition explicitly

advocated for restrictions on speech and debate to accomplish that political agenda,

listing as an objective “ensuring the dissemination of accurate information about climate

change.”3 The coalition’s agreement was concealed from the public until third parties

recently obtained it from one coalition member under public records laws.                       Other

coalition members continue to resist similar demands for transparency.

                The coalition first publicly surfaced when Attorney General Schneiderman

hosted a press conference in New York City on March 29, 2016,4 with former Vice

President and private citizen Al Gore as the featured speaker.5                   Attorney General

Schneiderman pledged that the coalition would “deal with the problem of climate


1
    See Paragraphs 52 to 53 below; see also Ex. R at App. 171–74.
2
    Ex. V at App. 196.
3
    Id.
4
    See Paragraphs 27 to 39 below.
5
    A transcript of the AGs United for Clean Power Press Conference, held on March 29, 2016, was
    prepared by counsel based on a video recording of the event, which is available at
    http://www.ag.ny.gov/press-release/ag-schneiderman-former-vice-president-al-gore-and-coalition-
    attorneys-general-across. A copy of this transcript is attached as Exhibit B and is incorporated by
    reference.

                                                  2
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 3 of 49



change” by using law enforcement powers “creatively” and “aggressively” to force

ExxonMobil6 and other energy companies to support the coalition’s preferred policy

responses to climate change.7 Considering climate change to be the “most pressing issue

of our time,” Attorney General Schneiderman said the coalition was “prepared to step

into this [legislative] breach.”8

                  Attorney General Healey similarly pledged “quick, aggressive action” by

her office to “address climate change and to work for a better future.”9 She announced an

investigation of ExxonMobil that she had already determined would reveal a “troubling

disconnect between what Exxon knew” and what it “chose to share with investors and

with the American public.”10            The statements of Attorney General Schneiderman,

Attorney General Healey, Mr. Gore and others made clear that the press conference was a

purely political event.

                  It was also the result of years of planning and lobbying by private

interests.11 For nearly a decade, climate change activists and certain plaintiffs’ attorneys

have sought to obtain the confidential records of energy companies as a means of

pressuring those companies to change their policy positions. A 2012 workshop examined

ways to obtain the internal documents of companies like ExxonMobil for the purpose of

“maintaining pressure on the industry that could eventually lead to its support for

legislative and regulatory responses to global warming.”12                    The attendees at that



6
     ExxonMobil was formed as a result of a merger between Exxon and Mobil on November 30, 1999.
     For ease of discussion, we refer to the predecessor entities as ExxonMobil throughout the Complaint.
7
     Ex. B at App. 9 –10.
8
     Id. at App. 9, 11.
9
     Id. at App. 21.
10
     Id. at App. 20.
11
     See Paragraphs 40 to 51 below.
12
     Ex. C at App. 56.

                                                    3
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 4 of 49



workshop concluded that “a single sympathetic state attorney general might have

substantial success in bringing key internal documents to light.”13

                 In the months leading up to the press conference, these activists and

attorneys met at the offices of the Rockefeller Family Fund in New York to discuss the

“[g]oals of an Exxon campaign,” which included to “delegitimize [it] as a political actor”

and to “force officials to disassociate themselves from Exxon.”14

                 The leadership of this group of activists and attorneys attended a meeting

with “sympathetic state attorney[s] general” prior to the March 29 press conference.

While this Court and the public have not been told what was discussed, a copy of the

agenda for the meeting includes presentations on the “imperative of taking action now on

climate change” and on “climate change litigation.”15

                 Members of the coalition recognized that the behind-the-scenes

involvement of these individuals—especially a private attorney likely to seek fees from

any private litigation made possible by an attorney general-led investigation of

ExxonMobil—could expose the special interests behind their so-called investigations and

the bias underlying their deployment of law enforcement resources for partisan ends.

When that same private attorney asked Attorney General Schneiderman’s office what he

should tell a reporter if asked about his involvement, Lemuel Srolovic, Chief of the

Environmental Protection Bureau, asked the private attorney not to confirm his

attendance at the conference.16




13
     Id. at 40.
14
     Ex. D at App. 67.
15
     Ex. E at App. 70.
16
     Ex. F at App. 80.

                                             4
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 5 of 49



                  The investigations launched by Attorneys General Schneiderman and

Healey amount to nothing more than an unlawful exercise of government power to

further political objectives. The shifting justifications they have presented for their

investigations are pretexts that have become more and more transparent over time. 17

Invoking state laws with limitations periods no longer than six years, the Attorneys

General claim to be investigating whether ExxonMobil committed consumer or securities

fraud by misrepresenting its knowledge of climate change.

                  But for more than a decade, ExxonMobil has widely and publicly

confirmed18 that it “recognize[s] that the risk of climate change and its potential impacts

on society and ecosystems may prove to be significant.”19 ExxonMobil has also publicly

advocated a tax on carbon emissions since 2009.20 Moreover, in conducting its business,

ExxonMobil addresses the potential for future climate change policy by estimating a

proxy cost of carbon, which seeks to reflect potential policies governments may employ

related to the exploration, development, production, transportation or use of carbon-based

fuels.21 This cost, which in some regions may approach $80 per ton by 2040, has been

included in ExxonMobil’s Outlook for Energy for several years.22 Further, ExxonMobil

requires all of its business lines to include, where appropriate, an estimate of greenhouse

gas-related emissions costs in their economics when seeking funding for capital

investments.23 Despite the applicable limitations periods and ExxonMobil’s longstanding


17
     See Paragraphs 74 to 76 below.
18
     See Paragraphs 63 to 64 below.
19
     Ex. G at App. 93; see also Ex. H at App. 103 (“Because the risk to society and ecosystems from rising
     greenhouse gas emissions could prove to be significant, strategies that address the risk need to be
     developed and implemented.”).
20
     Ex. T at App. 182.
21
     Ex. T at App. 190.
22
     Id.
23
     Id.

                                                    5
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 6 of 49



public recognition of the risks associated with climate change, the subpoena and the CID

seek documents going back nearly four decades, seeking anything having to do with the

issue.

                 Worse still, the New York Attorney General’s subpoena and the

Massachusetts Attorney General’s CID target ExxonMobil’s communications with those

who the Attorneys General perceive to have different political viewpoints in the climate

change debate. The subpoena seeks ExxonMobil’s communications with oil and gas

trade associations and industry groups that advocate on energy policy, and the CID

demands ExxonMobil’s communications with a list of organizations labeled by the

coalition as so-called “climate deniers,” i.e., those who have expressed skepticism about

the science of climate change or the coalition’s preferred policies regarding climate

change.24 The CID also identifies statements made by ExxonMobil about the tradeoffs

inherent in climate change policy and demands that ExxonMobil produce records

supporting those disfavored statements.

                 Recent events have fully unmasked the pretextual nature of these

investigations and the improper bias and unconstitutional objectives animating them.25

When Attorney General Schneiderman launched his investigation, he claimed to be

investigating ExxonMobil’s scientific research in the 1970s and 1980s. Subject to the

assertion of privilege, including First Amendment privileges, ExxonMobil initially

provided documents to Attorney General Schneiderman with the expectation that his

office would conduct a neutral, even-handed investigation. As events unfolded over the




24
     See Paragraphs 66 and 73 below.
25
     See Paragraphs 74 to 76 below.

                                           6
       Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 7 of 49



ensuing months—including the politicized press conference in March and the secret

agreement’s coming to light over the summer—that expectation has evaporated.

                    Within the last month, and well after ExxonMobil commenced this action,

Attorney General Schneiderman continued his practice of providing unprecedented

briefings to the press on the status of his “investigation” of ExxonMobil and announced

his expectation that a “massive securities fraud” will be uncovered. During one of those

briefings, Attorney General Schneiderman conceded that he has abandoned his original

inquiry into ExxonMobil’s historical scientific research and is now pursuing a new theory

of investor fraud. That shift further demonstrates that Attorney General Schneiderman is

simply searching for a legal theory—any legal theory—to continue his efforts to pressure

ExxonMobil and intimidate one side of a public policy debate.26

                    It is now indisputable that the subpoena and the CID were issued in bad

faith to deter ExxonMobil from participating in ongoing public deliberations about

climate change and to fish through decades of ExxonMobil’s documents in the hope of

finding some ammunition to enhance the coalition’s, and its climate activist

confederates’, position in the policy debate over climate change. Through their actions,

Attorneys General Schneiderman and Healey have deprived and will continue to deprive

ExxonMobil of its rights under the United States Constitution, the Texas Constitution,

and the common law.

                    ExxonMobil therefore seeks a declaration that the subpoena and the CID

violate its rights under Articles One and Six of the United States Constitution; the First,

Fourth, and Fourteenth Amendments to the United States Constitution; Sections Eight,

Nine, and Nineteen of Article One of the Texas Constitution; and constitutes an abuse of
26
     See Paragraphs 74 to 81 below.

                                               7
   Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 8 of 49



process under the common law. ExxonMobil also seeks an injunction barring further

enforcement of the subpoena and the CID. Absent an injunction, ExxonMobil will suffer

imminent and irreparable harm for which there is no adequate remedy at law.

                                         PARTIES

               ExxonMobil is a public, shareholder-owned energy company incorporated

in New Jersey with principal offices in the State of Texas. ExxonMobil is headquartered

and maintains all of its central operations in Texas.

               Defendant Eric Tradd Schneiderman is the Attorney General of New

York. He is sued in his official capacity.

               Defendant Maura Tracy Healey is the Attorney General of Massachusetts.

She is sued in her official capacity.

                             JURISDICTION AND VENUE

               This Court has subject matter jurisdiction over this action pursuant to

Sections 1331 and 1367 of Title 28 of the United States Code. Plaintiff alleges violations

of its constitutional rights in violation of Sections 1983 and 1985 of Title 42 of the United

States Code. Because those claims arise under the laws of the United States, this Court

has original jurisdiction over them. 28 U.S.C. § 1331. Plaintiff also alleges related state

law claims that derive from the same nucleus of operative facts. Each of Plaintiff’s state

law claims—like its federal claims—is premised on statements by Attorneys General

Schneiderman and Healey at the press conference and during the course of their

investigations, their issuance of the subpoena and the CID, the demands made therein,

and their intention to muzzle ExxonMobil’s speech in Texas. This Court therefore has

supplemental jurisdiction over those claims. 28 U.S.C. § 1367(a).



                                              8
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 9 of 49



                  Venue is proper within this District pursuant to Section 1391(b) of Title 28

of the United States Code because all or a substantial part of the events giving rise to the

claims occurred in the Northern District of Texas.           The subpoena was emailed to

ExxonMobil in Texas, and both the subpoena and CID target and seek to suppress speech

emanating from Texas. They also require ExxonMobil to collect and review a substantial

number of records stored or maintained in the Northern District of Texas.

                                             FACTS

A.       Attorney General Schneiderman Opens His Investigation of ExxonMobil
         with a Press Leak Followed by a Television Interview.

                  In      November   2015,    ExxonMobil      received    Attorney    General

Schneiderman’s subpoena at its corporate headquarters in Irving, Texas.27 Within hours,

the press was reporting on the subpoena’s issuance and its contents. An article in The

New York Times reported that the subpoena “demand[ed] extensive financial records,

emails and other documents” and that the “focus” of the investigation was on “the

company’s own long running scientific research” on climate change.28               The article

identified as sources “people with knowledge of the investigation,” all of whom “spoke

on the condition of anonymity saying they were not authorized to speak publicly about

investigations.”29 To state the obvious, ExxonMobil did not alert The New York Times or

any other media to the subpoena’s existence or its contents.

                  This press leak was unsettling.     It is customary for law enforcement

officials to maintain confidentiality of their investigations, both to protect the integrity of

the investigative process and to avoid unfair prejudice to those under investigation. But


27
     Ex. I at App. 108.
28
     Ex. A at App. 2.
29
     Id. at App. 2–3.

                                               9
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 10 of 49



Attorney General Schneiderman’s investigation of ExxonMobil has been conducted with

a marked disregard for traditional concerns about confidentiality or unfair prejudice.

Before ExxonMobil had even accepted service of the subpoena, it had received multiple

media inquiries about the subpoena and could read about the investigation in online news

accounts.30

                  Within a week of issuing the subpoena, Attorney General Schneiderman

appeared on a PBS NewsHour segment, entitled “Has Exxon Mobil misle[d] the public

about its climate change research?”31            During that appearance, Attorney General

Schneiderman described the focus of his investigation on ExxonMobil’s purported

decision to “shift[] [its] point of view” and “change[] tactics” on climate change after

“being at the leadership of doing good scientific work” on the issue “[i]n the 1980s.”32

Attorney General Schneiderman said his probe extended to ExxonMobil’s “funding [of]

organizations.”33 While he did not refer to them expressly as his political adversaries, he

derided them as “climate change deniers” and “climate denial organizations.”34 Those

organizations included the “American Enterprise Institute, . . . the American Legislative

Exchange Council, . . . [and the] American Petroleum Institute.”35

                  Renewable energy was another focus of the interview. Attorney General

Schneiderman said he was “concerned about” ExxonMobil’s purported “overestimating

the costs of switching to renewable energy,” but he did not explain how any supposed

error in that estimate could conceivably constitute a fraud or mislead any consumer.36


30
     Ex. A at App. 2–7; Ex. J at App. 110–112.
31
     Ex. K at App. 114.
32
     Id. at App. 115.
33
     Id. at App. 116.
34
     Id. at App. 116, 118.
35
     Id. at App. 116.
36
     Id.. at App. 117.

                                                 10
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 11 of 49



                  Attorney General Schneiderman did not discuss ExxonMobil’s oil and gas

reserves or its assets at all during this interview.

                  Later that month at an event sponsored by Politico in New York, Attorney

General Schneiderman said that ExxonMobil appeared to be “doing very good work in

the 1980s on climate research” but that its “corporate strategy seemed to shift” later.37

Attorney General Schneiderman claimed that the company had funded organizations that

he labeled “aggressive climate deniers,” again specifically naming his perceived political

opponents at the American Enterprise Institute, the American Legislative Exchange

Council, and the American Petroleum Institute.38            Attorney General Schneiderman

admitted that his “investigation” of ExxonMobil was merely “one aspect” of his office’s

efforts to “take action on climate change,” commenting that society’s failure to address

climate change would be “viewed poorly by history.”39

                  After this initial flurry of statements to the press, relative quiet followed,

and ExxonMobil attempted in good faith to produce records demanded by the subpoena.

It provided Attorney General Schneiderman with documents related to its historical

research on global warming and climate change.

B.       The “Green 20” Coalition Plans to Use Law Enforcement Tools for Political
         Goals.

                  The playing field changed on March 29, 2016, when Attorney General

Schneiderman hosted a press conference in New York City. Calling themselves the

“AGs United For Clean Power” and the “Green 20,” Attorneys General Schneiderman

and Healey were joined by other state attorneys general and Al Gore to announce their


37
     Ex. L at App. 123.
38
     Id.
39
     Id. at App. 124.

                                               11
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 12 of 49



plan to take “progressive action to address climate change” by investigating

ExxonMobil.40 Attorneys general or staff members from over a dozen other states were

in attendance, as was Claude Walker, the Attorney General of the United States Virgin

Islands.

                 Expressing dissatisfaction with the supposed “gridlock in Washington”

regarding climate change legislation, Attorney General Schneiderman said that the

coalition had to work “creatively” and “aggressively” to respond to “th[e] most pressing

issue of our time,” namely, the need to “preserve our planet and reduce the carbon

emissions that threaten all of the people we represent.”41

                 Attorney General Healey agreed, opining that “there’s nothing we need to

worry about more than climate change.”42 She considered herself to have “a moral

obligation to act” to remedy what she described as a threat to “the very existence of our

planet,” and she vowed to take “quick, aggressive action” to “address climate change and

to work for a better future.”43

                 Echoing those themes, Attorney General Walker stated that “the American

people . . . have to do something transformational” because “[w]e cannot continue to rely

on fossil fuel.”44         In private communications with other members of the Green 20

coalition, Attorney General Walker expressed his hope that the coalition’s efforts would

“identify[] other potential litigation targets” and “increase our leverage” against




40
     Ex. M at App 127.
41
     Ex. B at App. 9–11.
42
     Id. at App. 20.
43
     Id. at App. 20–21.
44
     Ex. B at App. 24.

                                               12
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 13 of 49



ExxonMobil to replicate or improve on an $800 million settlement he had previously

obtained against another energy company.45

                  For the Green 20, the public policy debate on climate change was over and

dissent was intolerable. Attorney General Schneiderman declared that he had “heard the

scientists” and “kn[e]w what’s happening to the planet.” 46 To him, there was “no dispute

but there is confusion, and confusion sowed by those with an interest in profiting from

the confusion and creating misperceptions in the eyes of the American public that really

need to be cleared up.”47 Clearing up that “confusion”—what the First Amendment

safeguards as protected political speech—was an express objective of the Green 20.

                  According to Attorney General Healey, “[p]art of the problem has been

one of public perception,” causing “many to doubt whether climate change is real and to

misunderstand and misapprehend the catastrophic nature of its impacts.” 48 She promised

that those who “deceived” the public—by disagreeing with her about climate change—

“should be, must be, held accountable.”49 Mr. Gore agreed, denouncing those he accused

of “deceiving the American people . . . about the reality of the climate crisis and the

dangers it poses to all of us.”50

                  The attorneys general embraced the renewable energy industry, in which

Mr. Gore is a prominent investor and promoter, as the only legitimate response to climate

change. Attorney General Schneiderman said, “We have to change conduct” to “mov[e]

more rapidly towards renewables.”51 Attorney General Healey promised to “speed our


45
     Ex. N at App. 131, 134.
46
     Ex. B at App. 10.
47
     Id.
48
     Id. at App. 20.
49
     Id.
50
     Id. at App. 14.
51
     Id. at App. 27–28.

                                             13
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 14 of 49



transition to a clean energy future”52 According to Attorney General Walker, “[w]e have

to look at renewable energy. That’s the only solution.”53 Mr. Gore urged the coalition of

state attorneys general to investigate his business competitors for “slow[ing] down this

renewable revolution” by “trying to convince people that renewable energy is not a viable

option.”54

                   The assembled attorneys general had nothing but praise for Mr. Gore,

whose financial interests aligned with their political agenda.            Attorney General

Schneiderman enthused that “there is no one who has done more for this cause” than Mr.

Gore, who recently had been “traveling internationally, raising the alarm,” and “training

climate change activists.”55 Equally embracing the public support of Mr. Gore, Attorney

General Healey praised him for explaining so “eloquently just how important this is, this

commitment that we make,” and she thanked him for his “inspiration” and

“affirmation.”56       Virgin Islands Attorney General Walker hailed the former Vice

President as one of his “heroes.”57

                   In an effort to legitimize what the attorneys general were doing, Mr. Gore

cited perceived inaction by the federal government as the justification for action by the

Green 20. He observed that “our democracy’s been hacked . . . but if the Congress really

would allow the executive branch of the federal government to work, then maybe this

would be taken care of at the federal level.”58 Reading from the same script, Attorney

General Schneiderman pledged that the Green 20 would “step into th[e] [legislative]


52
     Id. at App. 21.
53
     Id. at App. 24.
54
     Id. at App. 17.
55
     Id. at App. 13.
56
     Id. at App. 20.
57
     Id. at App. 23.
58
     Id. at App. 17.

                                               14
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 15 of 49



breach” created by this alleged federal inaction.59 He then showed that his subpoena was

a tool for achieving his political goals:

         We know that in Washington there are good people who want to do the
         right thing on climate change but everyone from President Obama on
         down is under a relentless assault from well-funded, highly aggressive and
         morally vacant forces that are trying to block every step by the federal
         government to take meaningful action. So today, we’re sending a message
         that, at least some of us—actually a lot of us—in state government are
         prepared to step into this battle with an unprecedented level of
         commitment and coordination.60

                   Attorney General Schneiderman linked the coalition’s political efforts to

his investigation of ExxonMobil, reminding the audience that he “had served a subpoena

on ExxonMobil” to investigate “theories relating to consumer and securities fraud.”61 He

also suggested that ExxonMobil faced a presumption of guilt in his office, arguing that

ExxonMobil had been “using the best climate models” to determine “how fast the sea

level is rising” and to “drill[] in places in the Arctic where they couldn’t drill 20 years

ago” while telling “the public for years that there were no ‘competent models,’ . . . to

project climate patterns, including those in the Arctic.”62              Attorney General

Schneiderman went on to suggest there was something illegal in ExxonMobil’s alleged

support for “organizations that put out propaganda denying that we can predict or

measure the effects of fossil fuel on our climate, or even denying that climate change was

happening.”63

                   Attorney General Healey was equally explicit in her prejudgment of

ExxonMobil. She stated that there was a “troubling disconnect between what Exxon


59
     Id. at App. 11.
60
     Id. at App. 12.
61
     Id. at App. 11.
62
     Id.
63
     Id.

                                               15
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 16 of 49



knew, what industry folks knew, and what the company and industry chose to share with

investors and with the American public.”64 Those conclusions were announced weeks

before she even issued the CID to ExxonMobil.

                 The political motivations articulated by Attorneys General Schneiderman,

Healey, and Walker, Mr. Gore, and the other press conference attendees struck a

discordant note with those who rightfully expect government attorneys to conduct

themselves in a neutral and unbiased manner.            The overtly political tone of the

conference even prompted one reporter to ask whether the press conference and the

investigations were “publicity stunt[s].”65

                 Even some members of the coalition were apprehensive about the

expressly political focus of its ringleader.       Attorney General Schneiderman’s office

circulated a draft set of “Principles” for the “Climate Coalition of Attorneys General” that

included a “[p]ledge” to “work together” to enforce laws “that require progressive action

on climate change.”66      Recognizing the overtly political nature of that pledge, an

employee of the Vermont Attorney General’s Office wrote: “We are thinking that use of

the term ‘progressive’ in the pledge might alienate some. How about ‘affirmative,’

‘aggressive,’ ‘forceful’ or something similar?”67

C.       In Closed-Door Meetings, the Green 20 Meet with Private Interests.

                 The impropriety of the statements made by Attorneys General

Schneiderman and Healey and the other members of the Green 20 at the press conference

is surpassed only by what is currently known about what they said behind closed doors.


64
     Id. at App. 20.
65
     Id. at App. 25.
66
     Ex. M at App. 127.
67
     Id. at App. 126.

                                              16
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 17 of 49



                  During the morning of the press conference, the attorneys general attended

two presentations. Those presentations were not announced publicly, and they were not

open to the press or general public. The identity of the presenters and the titles of the

presentations, however, were later released by the State of Vermont in response to a

request by a third party under that state’s Freedom of Information Act.

                  The first presenter was Peter Frumhoff, the Director of Science and Policy

for the Union of Concerned Scientists.68 His subject was the “imperative of taking action

now on climate change.”69

                  According to the Union of Concerned Scientists, those who do not share

its views about climate change and responsive policy make it “difficult to achieve

meaningful solutions to global warming.”70 It accuses “[m]edia pundits, partisan think

tanks, and special interest groups” of being “contrarians,” who “downplay and distort the

evidence of climate change, demand policies that allow industries to continue polluting,

and attempt to undercut existing pollution standards.”71

                  Frumhoff has been targeting ExxonMobil since at least 2007. In that year,

Frumhoff contributed to a publication issued by the Union of Concerned Scientists, titled

“Smoke, Mirrors, and Hot Air: How ExxonMobil Uses Big Tobacco’s Tactics to

Manufacture Uncertainty on Climate Science.”72 This essay brainstormed strategies for

“[p]utting the [b]rakes” on ExxonMobil’s alleged “[d]isinformation [c]ampaign” on

climate change.73



68
     Ex. O at App. 138.
69
     Ex. E at App. 70.
70
     Ex. P at App. 146.
71
     Id. at App. 146–47.
72
     Ex. Q at App. 160, 163.
73
     Id. at App. 166.

                                              17
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 18 of 49



                  Matthew Pawa of Pawa Law Group, P.C., hosted the second presentation

on the topic of “climate change litigation.”74 The Pawa Law Group, which boasts of its

“role in launching global warming litigation,”75 previously sued ExxonMobil and sought

to hold it liable for causing global warming. That suit was dismissed because, as the

court properly held, regulating greenhouse gas emissions is “a political rather than a legal

issue that needs to be resolved by Congress and the executive branch rather than the

courts.”76

                  Frumhoff and Pawa have sought for years to initiate and promote litigation

against fossil fuel companies in the service of their political agenda and for private profit.

In 2012, for example, Frumhoff organized and Pawa presented at a workshop entitled

“Climate Accountability, Public Opinion, and Legal Strategies.”77 The workshop’s goal

was to consider “the viability of diverse strategies, including the legal merits of targeting

carbon producers (as opposed to carbon emitters) for U.S.-focused climate mitigation.”78

                  The 2012 workshop’s attendees discussed at considerable length

“Strategies to Win Access to Internal Documents” of fossil fuel companies like

ExxonMobil.79        Even then, “lawyers at the workshop” suggested that “a single

sympathetic state attorney general might have substantial success in bringing key internal

documents to light.”80 The conference’s attendees were “nearly unanimous” regarding

“the importance of legal actions, both in wresting potentially useful internal documents

from the fossil fuel industry and, more broadly, in maintaining pressure on the industry

74
     Ex. E at App. 70.
75
     Ex. S at App. 176.
76
     Ex. C at App. 41; see also Native Vill. of Kivalina v. ExxonMobil Corp., 663 F. Supp. 2d 863, 871–77
     (N.D. Cal. 2009), aff’d, 696 F.3d 849 (9th Cir. 2012).
77
     Ex. C at App. 30–31, 61, 63.
78
     Id. at App. 32–33.
79
     Id. at App. 40–41.
80
     Id. at App. 40.

                                                   18
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 19 of 49



that could eventually lead to its support for legislative and regulatory responses to global

warming.”81

                  In January 2016, Pawa and a group of climate activists met at the

Rockefeller Family Fund offices to discuss the “[g]oals of an Exxon campaign.”82 The

goals included:

                 To establish in [the] public’s mind that Exxon is a corrupt
                  institution that has pushed humanity (and all creation) toward
                  climate chaos and grave harm.

                 To delegitimize [ExxonMobil] as a political actor.

                 To force officials to disassociate themselves from Exxon, their
                  money, and their historic opposition to climate progress, for
                  example by refusing campaign donations, refusing to take
                  meetings, calling for a price on carbon, etc.

                 To drive divestment from Exxon.

                 To drive Exxon & climate into [the] center of [the] 2016 election
                  cycle.83

                  The investigations by the New York and Massachusetts Attorneys General

and the Green 20 press conference represented the culmination of Frumhoff and Pawa’s

collective efforts to enlist state law enforcement officers to join them in a quest to silence

political opponents, enact preferred policy responses to climate change, and obtain

documents for private lawsuits.

                  The attorneys general in attendance at the press conference understood

that the participation of Frumhoff and Pawa, if reported, could expose the private,

financial, and political interests behind the announced investigations. The day after the




81
     Id. at App. 56 (emphasis added).
82
     Ex. D at App. 67.
83
     Id.; see also Ex. U at App. 192–94.

                                              19
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 20 of 49



conference, a reporter from The Wall Street Journal contacted Pawa.84                  Before

responding, Pawa dutifully asked Lemuel Srolovic, Chief of Attorney General

Schneiderman’s Environmental Protection Bureau, “[w]hat should I say if she asks if I

attended?”85 Mr. Srolovic—the Assistant Attorney General who had sent the New York

subpoena to ExxonMobil in November 2015—encouraged Pawa to conceal from the

press and the public the closed-door meetings. He responded, “[m]y ask is if you speak

to the reporter, to not confirm that you attended or otherwise discuss the event.”86

                 The press conference, the closed-door meetings with activists, and the

activists’ long-standing desire to obtain ExxonMobil’s “internal documents” as part of a

campaign to put “pressure on the industry,” inducing it to support “legislative and

regulatory responses to global warming,”87 form the partisan backdrop against which the

New York and Massachusetts investigations must be considered.

D.       The Green 20 Attempt to Conceal their Misuse of Power from the Public.

                 Recognizing the need to avoid public scrutiny, Attorneys General

Schneiderman, Healey, and fifteen others entered into an agreement pledging to conceal

their activities and communications in furtherance of their political agenda from the

public. In April and May of 2016, the Green 20 executed a so-called “Climate Change

Coalition Common Interest Agreement,” which memorialized the twin goals of this illicit

enterprise.88 The first goal listed in the agreement, “limiting climate change,” reflected

the coalition’s focus on politics, not law enforcement.89 The second goal, “ensuring the

dissemination of accurate information about climate change,” confirmed the coalition’s
84
     Ex. F at App. 80.
85
      Id.
86
     Id.
87
     Ex. C at App. 40, 56.
88
     Ex. V at App. 196–214.
89
     Id. at App. 196.

                                             20
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 21 of 49



willingness to violate First Amendment rights to carry out its agenda. 90 They appointed

themselves as arbiters of what information is “accurate” as regards climate change and

stood ready to use the full arsenal of law enforcement tools at their disposal against those

who did not toe their party line.

                 To conceal communications concerning this unconstitutional enterprise

from public disclosure, the signatories agreed to maintain the confidentiality of their

communications by pledging that, “unless required by law,” the parties “shall . . . refuse

to disclose” any “(1) information shared in organizing a meeting of the Parties on March

29, 2016, (2) information shared at and after the March 29 meeting . . . and (3)

information shared after the execution of this Agreement.”91         The common interest

agreement stifles not only public debate about the motivations and legality of the Green

20, but also prevents the public from learning of the political genesis of the Green 20.

E.       The Attorneys General of Other States Condemn the Green 20’s
         Investigations.

                 The overtly political nature of the March 29 press conference drew a swift

and sharp rebuke from other state attorneys general who criticized the Green 20 for using

the power of law enforcement as a tool to muzzle dissent and discussions about climate

change. The attorneys general of Alabama and Oklahoma stated that “scientific and

political debate” “should not be silenced with threats of criminal prosecution by those

who believe that their position is the only correct one and that all dissenting voices must

therefore be intimidated and coerced into silence.”92       They emphasized that “[i]t is




90
     Id.
91
     Id. at App. 196–97
92
     Ex. X at App. 225.

                                             21
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 22 of 49



inappropriate for State Attorneys General to use the power of their office to attempt to

silence core political speech on one of the major policy debates of our time.”93

                 The Louisiana Attorney General similarly observed that “[i]t is one thing

to use the legal system to pursue public policy outcomes; but it is quite another to use

prosecutorial weapons to intimidate critics, silence free speech, or chill the robust

exchange of ideas.”94         Likewise, the Kansas Attorney General questioned the

“‘unprecedented’” and “strictly partisan nature of announcing state ‘law enforcement’

operations in the presence of a former vice president of the United State[s] who,

presumably [as a private citizen], has no role in the enforcement of the 17 states’

securities or consumer protection laws.”95 The West Virginia Attorney General criticized

the attorneys general for “abusing the powers of their office” and stated that the desire to

“eliminate fossil fuels . . . should not be driving any legal activity” and that it was

improper to “use the power of the office of attorney general to silence [] critics.”96

                 In addition, on June 15, 2016, attorneys general from thirteen states wrote

a letter to their “Fellow Attorneys General,” in which they explained that the Green 20’s

effort “to police the global warming debate through the power of the subpoena is a grave

mistake” because “[u]sing law enforcement authority to resolve a public policy debate

undermines the trust invested in our offices and threatens free speech.” 97 The thirteen

attorneys further described the Green 20’s investigations as “far from routine” because

(i) they “target[] a particular type of market participant,” namely fossil fuel companies;

(ii) the Green 20 had aligned itself “with the competitors of [its] investigative targets”;

93
     Id.
94
     Ex. Y at App. 227.
95
     Ex. QQ at App. 435.
96
     Ex. RR at App. 438–39.
97
     Ex. SS at App. 444.

                                             22
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 23 of 49



and (iii) “the investigation implicates an ongoing public policy debate.”98 In conclusion,

they asked their fellow attorneys general to “[s]top policing viewpoints.”99

                   The actions of Defendants and their Green 20 allies caught the eye of

Congress. The Committee on Science, Space, and Technology of the United States

House of Representatives launched an inquiry into the investigations undertaken by the

Green 20.100 That committee was “concerned that these efforts [of the Green 20] to

silence speech are based on political theater rather than legal or scientific arguments, and

that they run counter to an attorney general’s duty to serve as the guardian of the legal

rights of the citizens and to assert, protect, and defend the rights of the people.”101

Perceiving a need to provide “oversight” of what it described as “a coordinated attempt to

attack the First Amendment rights of American citizens,” the Committee requested the

production of certain records and information from the attorneys general. 102           The

attorneys general have thus far refused to voluntarily cooperate with the inquiry.103

                   After Attorney General Schneiderman refused to turn over documents

requested by the House Committee and criticized its “unfounded claims about the

NYOAG’s motives,”104 the House Committee issued subpoenas to Attorney General

Schneiderman, Attorney General Healey, and eight environmental organizations in order

to “obtain documents related to coordinated efforts to deprive companies, nonprofit

organizations, scientists and scholars of their First Amendment rights.”105 It further



98
      Id.
99
      Id. at App. 447.
100
      Ex. Z at App. 229.
101
      Id. (internal quotation marks omitted).
102
      Id. at App. 232.
103
      See, e.g., Ex. TT at App. 449; Ex. UU at App. 453.
104
      Ex. AA at App. 237.
105
      Ex. BB at App. 240.

                                                     23
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 24 of 49



criticized the attorneys general for “hav[ing] appointed themselves to decide what is valid

and what is invalid regarding climate change.”106

                  Several senators have urged United States Attorney General Loretta Lynch

to confirm that the Department of Justice is not investigating, and will not investigate,

United States citizens or corporations on the basis of their views on climate change.107

The senators observed that the Green 20’s investigations “provide disturbing

confirmation that government officials at all levels are threatening to wield the sword of

law enforcement to silence debate on climate change.”108 The letter concluded by asking

Attorney General Lynch to explain the steps she is taking “to prevent state law

enforcement officers from unconstitutionally harassing private entities or individuals

simply for disagreeing with the prevailing climate change orthodoxy.”109

F.        The Subpoena and the CID Reflect the Improper Political Objectives of the
          Green 20 Coalition.

                  The twin goals of the Green 20—advancing a political agenda and

trammeling constitutional rights in the process—are fully reflected in the subpoena and

the CID.

          The New York Subpoena

                  Attorney General Schneiderman is authorized to issue a subpoena only if

(i) there is “some factual basis shown to support the subpoena”; 110 and (ii) the

information sought “bear[s] a reasonable relation to the subject matter under investigation

and the public purpose to be served.”111 Neither standard is met here.


106
      Id.
107
      Ex. DD at App. 248.
108
      Id.
109
      Id.
110
      Napatco, Inc. v. Lefkowitz, 43 N.Y.2d 884, 885–86 (1978).
111
      Myerson v. Lentini Bros. Moving & Storage Co., 33 N.Y.2d 250, 256 (1973).

                                                   24
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 25 of 49



                   The New York subpoena purports to investigate whether ExxonMobil

violated New York State Executive Law Article 5, Section 63(12), General Business Law

Article 22-A or 23-A and “any related violation, or any matter which the Attorney

General deems pertinent thereto.”112 These statutes have at most a six-year limitations

period.113

                   During the six-year limitations period, however, ExxonMobil made no

statements that could give rise to fraud as alleged in the subpoena. For more than a

decade, ExxonMobil has publicly acknowledged that climate change presents significant

risks that could affect its business.             For example, ExxonMobil’s 2006 Corporate

Citizenship Report recognized that “the risk to society and ecosystems from rising

greenhouse gas emissions could prove to be significant” and reasoned that “strategies that

address the risk need to be developed and implemented.”114                      In addition, in 2002,

ExxonMobil, along with three other companies, helped launch the Global Climate and

Energy Project at Stanford University, which has a mission of “conduct[ing] fundamental

research on technologies that will permit the development of global energy systems with

significantly lower greenhouse gas emissions.”115

                   ExxonMobil has also discussed these risks in its public SEC filings. For

example, in its 2006 10-K, ExxonMobil stated that “laws and regulations related to . . .

risks of global climate change” “have been, and may in the future” continue to impact its

operations.116 Similarly, in its 2015 10-K, ExxonMobil noted that the “risk of climate


112
      Ex. EE at App. 251.
113
      See, e.g., State ex rel. Spitzer v. Daicel Chem. Indus., Ltd.,840 N.Y.S.2d 8, 11–12 (1st Dep’t 2007);
      Podraza v. Carriero, 630 N.Y.S.2d 163, 169 (4th Dep’t 1995); State v. Bronxville Glen I Assocs., 581
      N.Y.S.2d 189, 190 (1st Dep’t 1992).
114
      Ex. H at App. 103.
115
      Ex. FF at App. 270.
116
      Ex. GG at App. 277–78.

                                                    25
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 26 of 49



change” and “current and pending greenhouse gas regulations” may increase its

“compliance costs.”117            Long before the six-year statute of limitations period,

ExxonMobil disclosed and acknowledged the risks that supposedly gave rise to Attorney

General Schneiderman’s investigation.

                   Notwithstanding that six-year limitations period and the absence of any

conduct within that timeframe that could give rise to a statutory violation, the document

requests in the subpoena span 39 years and extend to nearly every document ExxonMobil

has ever created that in any way concerns climate change. For example, the subpoena

demands “[a]ll Documents and Communications” from 1977 to the present,

“[c]oncerning any research, analysis, assessment, evaluation, modelling or other

consideration performed by You, on Your behalf, or with funding provided by You

Concerning the causes of Climate Change.”118

                   The subpoena includes 10 other similarly sweeping requests, such as (i) a

demand for all documents and communications that ExxonMobil has produced since

1977 relating to “the impacts of Climate Change”; and (ii) exemplars of all

“advertisements, flyers, promotional materials, and informational materials of any type”

that ExxonMobil has produced in the last 11 years concerning climate change.119 Other

requests target Attorney General Schneiderman’s perceived political opponents in the

climate change debate by demanding ExxonMobil’s communications with trade

associations and industry groups that seek to promote oil and gas interests.120




117
      Ex. HH at App. 284.
118
      Ex. II at App. 257–58 (Request No. 1).
119
      Id. at App. 258–59 (Request Nos. 2, 8).
120
      Id. at App. 258 (Request No. 6).

                                                26
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 27 of 49



                   In response to some of these requests, ExxonMobil asserted First

Amendment privileges, including in connection with ExxonMobil scientists’ participation

in non-profit research organizations.

                   Moreover, almost all of the sweeping demands in the subpoena reach far

beyond conduct bearing any connection to the State of New York. Ten of the eleven

document requests make blanket demands for all of ExxonMobil’s documents or

communications on a broad topic, with no attempt to restrict the scope of production to

documents or communications having any connection to New York. 121 Only two of the

requests even mention New York.122 And, while the subpoena seeks ExxonMobil’s

communications with five named organizations, only one of them is based in New

York.123

          The Massachusetts CID

                   The CID was served by Attorney General Healey on ExxonMobil’s

registered agent in Suffolk County, Massachusetts, on April 19, 2016. According to the

CID, there is “a pending investigation concerning [ExxonMobil’s] potential violations of

[Mass. Gen. Laws] ch. 93A, § 2.”124 That statute prohibits “unfair or deceptive acts or

practices” in “trade or commerce”125 and has a four-year statute of limitations.126 The

CID specifies two types of transactions under investigation: ExxonMobil’s (i) “marketing

and/or sale of energy and other fossil fuel derived products to consumers in the

Commonwealth,” and (ii) “marketing and/or sale of securities” to Massachusetts



121
      Id. at App. 258–59 (Request Nos. 1, 10).
122
      Id. at App. 259 (Request Nos. 9, 11).
123
      Id. at App. 258 (Request No. 6).
124
      Id. at App. 286.
125
      Mass. Gen. Laws ch. 93A, §2(a).
126
      Mass. Gen. Laws ch. 260, § 5A.

                                                 27
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 28 of 49



investors.127 The requested documents pertain largely to information related to climate

change in the possession of ExxonMobil in Texas where it is headquartered and

maintains its principal place of business.

                   ExxonMobil could not have committed the possible offenses that the CID

purports to investigate for at least two reasons. First, at no point during the past five

years—more than one year before the limitations period began—has ExxonMobil (i) sold

fossil fuel derived products to consumers in Massachusetts, or (ii) owned or operated a

single retail store or gas station in the Commonwealth.128 Second, ExxonMobil has not

sold any form of equity to the general public in Massachusetts since at least 2011, which

is also well beyond the limitations period.129 In the past decade, ExxonMobil has sold

debt only to underwriters outside the Commonwealth, and ExxonMobil did not market

those offerings to Massachusetts investors.130

                   The CID’s focus on events, activities, and records outside of

Massachusetts is demonstrated by the items it demands that ExxonMobil search for and

produce. For example, the CID demands documents that relate to or support 11 specific

statements.131 None of those statements were made in Massachusetts.132 The CID also

seeks ExxonMobil’s communications with 12 named organizations,133 but only one of

these organizations has an office in Massachusetts and ExxonMobil’s communications

127
       Ex. II at App. 86.
128
       Any service station that sells fossil fuel derived products under an “Exxon” or “Mobil” banner is
       owned and operated independently. In addition, distribution facilities in Massachusetts, including
       Everett Terminal, have not sold products to consumers during the limitations period.
129
      Ex. JJ at App. 317.
130
       Id. This is subject to one exception. During the limitations period, ExxonMobil has sold short-term,
       fixed-rate notes, which mature in 270 days or less, to institutional investors in Massachusetts, in
       specially exempted commercial paper transactions. Id.; see Mass. Gen. Laws ch. 110A, § 402(a)(10);
       see also 15 U. S. C. § 77c(a)(3).
131
       Ex. II at App. 299–300 (Request Nos. 8–11).
132
       Id. (Request Nos. 8–11).
133
       Id. at App. 298 (Request No. 5).

                                                     28
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 29 of 49



with the other 11 organizations likely occurred outside of Massachusetts. Finally, the

CID requests all documents and communications related to ExxonMobil’s publicly issued

reports, press releases, and Securities and Exchange Commission (“SEC”) filings, which

were issued outside of Massachusetts,134 and all documents and communications related

to ExxonMobil’s climate change research, which also occurred outside of

Massachusetts.135

                   The absence of any factual basis for investigating ExxonMobil’s alleged

fraud is glaring, particularly in light of the heavy burden imposed by the CID. Spanning

25 pages and containing 38 broadly worded document requests, the CID unreasonably

demands production of essentially any and all communications and documents relating to

climate change that ExxonMobil has produced or received over the last 40 years. For

example, the CID requests all documents and communications “concerning Exxon’s

development, planning, implementation, review, and analysis of research efforts to study

CO2 emissions . . . and the effects of these emissions on the Climate” since 1976 and all

documents and communications concerning “any research, study, and/or evaluation by

ExxonMobil and/or any other fossil fuel company regarding the Climate Change

Radiative Forcing Effect of” methane since 2010.136 It also requests all documents and

communications concerning papers and presentations given by ExxonMobil scientists

since 1976137 and demands production of ExxonMobil’s climate change related speeches,

public reports, press releases, and SEC filings over the last 20 years. 138 Moreover, it fails


134
      Id. at App. 301–03 (Request Nos. 15–16, 19, 22).
135
      Id. at App. 297–98, 300–03 (Request Nos. 1–4, 14, 17, 22).
136
      Id. at App. 297, 302 (Request Nos. 1, 17).
137
      Id. at App. 297–98. (Request Nos. 2–4).
138
      Id. at App. 299 (Request No. 8 (all documents since April 1, 1997)); id. at App. 302–03 (Request No.
      22 (all documents since 2006)); id. at App. 299–302 (Request Nos. 9–12, 14–16, 19 (all documents
      since 2010)). The CID also demands the testimony of ExxonMobil officers, directors, or managing

                                                    29
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 30 of 49



to reasonably describe several categories of documents by, for example, requesting

documents related to ExxonMobil’s “awareness,” “internal consideration,” and “decision

making” with respect to certain climate change matters.139

                   The CID’s narrower requests, however, are in some instances more

troubling than its overly broad ones. They appear to target groups simply because they

hold views with which Attorney General Healey disagrees. All 12 of the organizations

that ExxonMobil is directed to produce its communications with have been identified by

environmental advocacy groups as opposing policies in favor of addressing climate

change or disputing the science in support of climate change.140 The CID also targets

statements that are not in accord with the Green 20’s preferred views on climate change.

These include statements of pure opinion on policy, such as the suggestion that “[i]ssues

such as global poverty [are] more pressing than climate change, and billions of people

without access to energy would benefit from oil and gas supplies.”141

G.        Attorney General Schneiderman Shifts Investigative Theories in a Search for
          Leverage over ExxonMobil in a Public Policy Debate.

                   After receiving Attorney General Schneiderman’s subpoena, ExxonMobil

made a good-faith effort to comply with his request for information about its climate

change research in the 1970s and 1980s. ExxonMobil provided his office with well over

one million pages of documents, at substantial cost to the Company, with the expectation

that a fair and impartial investigation would be conducted. Less than a month ago, and

well after ExxonMobil commenced this action against Attorney General Healey, the



      agents who can testify about a variety of subjects, including “[a]ll topics covered” in the CID. Id. at
      App. 306 (Schedule B).
139
      Id. at App. 298–99, 302 (Request Nos. 7–8, 18).
140
      See, e.g., Ex. VV at App. 455–57.
141
      See, e.g., Ex. II at App. 299–300 (Request No. 9).

                                                     30
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 31 of 49



spokesman for Attorney General Schneiderman stated that ExxonMobil’s “historic

climate change research” was no longer “the focus of this investigation.”142

                 Rather than close the investigation, however, Attorney General

Schneiderman simply unveiled another theory. As he explained in a lengthy interview

published in The New York Times, Attorney General Schneiderman now focused on the

so-called “stranded assets theory.” His office intended to examine whether ExxonMobil

had overstated its oil and gas reserves and assets by not accounting for “global efforts to

address climate change” that might require it in the future “to leave enormous amounts of

oil reserves in the ground”—i.e., cause the assets to be “stranded.”143 Without offering—

or possessing—any supporting evidence whatsoever, Attorney General Schneiderman

inappropriately opined that there “may be massive securities fraud” at ExxonMobil based

on its estimation of proved reserves and the valuation of its assets.144

                 Attorney General Schneiderman has directed ExxonMobil to begin

producing documents on its estimation of oil and gas reserves, and ExxonMobil has

engaged in a dialogue with his office about that request. It is now apparent that Attorney

General Schneiderman is simply searching for a legal theory, however flimsy, that will

allow him to pressure ExxonMobil on the policy debate over climate change. With the

filing of this lawsuit, ExxonMobil is challenging what has now been revealed as a

manifestly improper investigation being conducted in bad faith.




142
      Ex. KK at App. 321.
143
      Ex. MM at App. 351.
144
      Id.

                                             31
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 32 of 49



H.        An Investigation of ExxonMobil’s Reporting of Oil and Gas Reserves and
          Assets Is a Thinly Veiled Pretext.

                  Attorney General Schneiderman’s decision to investigate ExxonMobil’s

reserves estimates under a stranded asset theory is particularly egregious because it

cannot be reconciled with binding regulations issued by the SEC, which apply strict

guidelines to the estimation of proved reserves.

                  Those regulations prohibit companies like ExxonMobil from considering

the impact of future regulations when estimating reserves. To the contrary, they require

ExxonMobil to calculate its proved reserves in light of “existing economic conditions,

operating methods, and government regulations.”145 The SEC adopted that definition of

proved reserves as part of its efforts to provide investors with a “comprehensive

understanding of oil and gas reserves, which should help investors evaluate the relative

value of oil and gas companies.”146 The SEC’s definition of proved oil and gas reserves

thus reflects its reasoned judgment about how best to supply investors with information

about the relative value of energy companies, as well as its balancing of competing

priorities, such as the agency’s desire for comprehensive disclosures, that are not unduly

burdensome, and which investors can easily compare. Attorney General Schneiderman’s

theory of “massive securities fraud” in ExxonMobil’s reported reserves cannot be

reconciled with binding SEC regulations about how those reserves must be reported.

                  The same rationale applies to Attorney General Schneiderman’s purported

investigation of the impairment of ExxonMobil’s assets.                  The SEC recognizes as

authoritative the accounting standards issued by the Financial Accounting Standards


145
      Modernization of Oil & Gas Reporting, SEC Release No. 78, File No. S7-15-08, 2008 WL 5423153, at
      *66 (Dec. 31, 2008) (emphasis added).
146
      Id. at *1.

                                                  32
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 33 of 49



Board (“FASB”).147 The FASB’s rules concerning the impairment of assets require

ExxonMobil to “incorporate [its] own assumptions” about future events when deciding

whether its assets are impaired.148 Contravening those rules, the Attorney General’s

theory requires that ExxonMobil adopt his assumptions about the likelihood of possible

future climate change regulations and then incorporate those assumptions into its

determination of whether an asset has been impaired. Attorney General Schneiderman

cannot hold ExxonMobil liable for complying with federal law.

                   Attorney General Healey’s investigation also purports to encompass the

same unsound theory of fraud.149 The decision to embrace this theory speaks volumes

about the pretextual nature of the investigations being conducted by Attorneys General

Schneiderman and Healey.              To read the relevant SEC rules is to understand why

ExxonMobil may not account for future climate change regulations when calculating its

proved reserves. And to read the applicable accounting standards is to understand why it

is impermissible for the Attorneys General to impose their assumptions about the

financial impact of possible future climate change regulations on companies that are

required to develop their own independent assumptions. The Attorneys General’s claims

that they are conducting a bona fide investigation premised on ExxonMobil’s supposed

failure to account for the Attorneys Generals’ expectations regarding the financial impact

of future regulations thus cannot be taken seriously. Their true objectives are clear: to


147
      See Commission Statement of Policy Reaffirming the Status of the FASB as a Designated Private-
       Sector Standard Setter, 68 Fed. Reg. 23,333–401 (May 1, 2003).
148
       See FASB Accounting Standards Codification 360-10-35-30; see also Statement of Financial
       Accounting Standards No. 144 ¶ 17.
149
       Ex. NN at App. 367, 372; Opp’n. of Att’y Gen. Maura Healey to Pl. Exxon Mobil Corp.’s Mot. for
       Prelim. Inj. at 8, ExxonMobil v. Healey, No. 4:16-cv-00469-K (N.D. Tex. Aug. 8, 2016) (Dkt. No. 43)
       (“If substantial portions of Exxon’s vast fossil fuel reserves are unable to be burned due to carbon
       dioxide emissions limits put in place to stabilize global average temperature, those assets—valued in
       the billions—will be stranded, placing shareholder value at risk.”).

                                                     33
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 34 of 49



fish indiscriminately through ExxonMobil’s records with the hope of finding some

violation of some law that one of them might be empowered to enforce, or otherwise to

harass ExxonMobil into endorsing the Green 20’s policy views regarding how the United

States should respond to climate change.

                 The desire of Attorneys General Schneiderman and Healey to impose

liability on ExxonMobil for complying with SEC disclosure requirements, and the

accounting methodologies incorporated in them, would create a direct conflict with

federal law. Even if the New York or Massachusetts Attorneys General were to seek

only to layer additional disclosure requirements beyond those imposed by the SEC, this

would frustrate, and pose an obstacle to, Congress’s and the SEC’s efforts to create a

uniform market for securities and provide consistent metrics by which investors can

measure oil and gas companies on a relative basis.

I.       ExxonMobil Files Suit to Protect its Rights.

                 ExxonMobil has challenged members of the Green 20 for violating its

constitutional rights. Attorney General Walker issued a subpoena to ExxonMobil on

March 15, 2016.150       ExxonMobil responded by seeking a declaratory judgment that

Attorney General Walker’s subpoena was illegal and unenforceable because it violated

ExxonMobil’s rights under the United States and Texas constitutions.151




150
      Ex. WW at App. 459–77.
151
      Ex. LL at App. 323–49.

                                           34
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 35 of 49



                   The Attorneys General of Texas and Alabama intervened in that action in

an effort to protect the constitutional rights of their citizens. They criticized Attorney

General Walker for undertaking an investigation “driven by ideology, and not law.”152

The Texas Attorney General called Attorney General Walker’s purported investigation “a

fishing expedition of the worst kind” and recognized it as “an effort to punish Exxon for

daring to hold an opinion on climate change that differs from that of radical

environmentalists.”153 The Alabama Attorney General echoed those sentiments, stating

that the pending action in Texas “is more than just a free speech case. It is a battle over

whether a government official has a right to launch a criminal investigation against

anyone who doesn’t share his radical views.”154

                   On June 30, 2016, Attorney General Walker and ExxonMobil entered into

a joint stipulation of dismissal, whereby the Attorney General agreed to withdraw his

subpoena and ExxonMobil agreed to withdraw its litigation challenging the subpoena.

                   ExxonMobil commenced this action on June 15, 2016, seeking a

preliminary injunction from this Court that would bar Attorney General Healey from

enforcing the CID. In an attempt to defend Attorney General Healey’s constitutionally

infirm CID, Attorney General Schneiderman, along with other attorneys general, filed an

amicus brief on August 8, 2016.155 They argued that Attorney General Healey has a




152
      Ex. OO at App. 395.
153
      Ex. CC at App. 244–45.
154
      Ex. W at App. 216.
155
      Mem. of Law for Amici Curiae States of Maryland, New York, Illinois, Iowa, Maine, Minnesota,
      Mississippi, New Mexico, Oregon, Rhode Island, Vermont, Washington, and the District of Columbia
      and the U.S. Virgin Islands in Support of Def.’s Mot. to Dismiss and in Opp’n. to Pl.’s Motion for a
      Prelim. Inj. at 1, Exxon Mobil Corp. v. Healey, No. 4:16-CV-469-K (N.D. Tex. Aug. 8, 2016) (Dkt.
      No. 47).

                                                    35
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 36 of 49



“compelling interest in the traditional authority” of her office “to investigate and combat

violations of state law.”156

                  Recognizing that there was nothing “traditional” about Attorney General

Healey’s use of state power, attorneys general from eleven states filed an amicus brief in

support of ExxonMobil’s preliminary injunction motion.157 “As chief legal officers” of

their respective states, they explained that their investigative power “does not include the

right to engage in unrestrained, investigative excursions to promulgate a social ideology,

or chill the expression of points of view, in international policy debates.” 158 As a result,

they noted that “[u]sing law enforcement authority to resolve a public policy debate

undermines the trust invested in our offices and threatens free speech.”159                        They

concluded, “Regrettably, history is embroiled with examples where the legitimate

exercise of law enforcement is soiled with political ends rather than legal ones.

Massachusetts seeks to repeats that unfortunate history. That the statements and workings

of the ‘AG’s United for Clean Power’ are entirely one-sided, and target only certain

participants in the climate change debate, speaks loudly enough.”160

                  ExxonMobil’s motion for a preliminary injunction against Attorney

General Healey has been briefed and argued and is now submitted before this Court.

          THE SUBPOENA AND CID VIOLATE EXXONMOBIL’S RIGHTS

                  The facts recited above demonstrate the pretextual nature of the stated

reasons for the investigations conducted by Attorneys General Schneiderman and Healey.


156
      Id.
157
      Br. of Texas, Louisiana, South Carolina, Alabama, Michigan, Arizona, Wisconsin, Nebraska,
      Oklahoma, Utah, and Nevada as Amici Curiae in Supp. of Pl.’s Mot. for Prelim. Inj. at Attachment 2,
      Exxon Mobil Corp. v. Healey, No. 4:16-CV-469-K (N.D. Tex. Sept. 8, 2016) (Dkt. No. 63).
158
      Id. at 1.
159
      Id.
160
      Id. at 9.

                                                   36
   Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 37 of 49



The statements Attorneys General Schneiderman and Healey made at the press

conference and after, the climate change coalition common interest agreement, and

recently released emails reveal the improper purpose of the investigations: to change the

political calculus surrounding the debate about policy responses to climate change by

(1) targeting speech that the Attorneys General perceive to support political perspectives

on climate change that differ from their own, and (2) exposing ExxonMobil’s documents

that may be politically useful to climate activists.

               The pretextual character of the investigations is brought into sharp relief

when the scope of the subpoena and the CID—which demand nearly 40 years of

records—are contrasted with the, at most, six-year limitations periods of the statutes that

purportedly authorize the investigations.

               Neither Attorney General Schneiderman nor Attorney General Healey

(nor, indeed, any other public official) may use the power of the state to prescribe what

shall be orthodox in matters of public concern. By deploying the law enforcement

authority of their offices to target one side of a political debate, their actions violated—

and continue to violate—the First Amendment.

               It follows from the political character of the subpoena and the CID and

their remarkably broad scope that they also violate the Fourth Amendment.              Their

burdensome demands for irrelevant records violate the Fourth Amendment’s

reasonableness requirement, as well as its prohibition on fishing expeditions. Indeed, the

evolving justifications for the New York and Massachusetts inquiries confirm that they

are investigations driven by the identity of the target, not any good faith belief that a law

was broken.



                                              37
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 38 of 49



                  The investigations also fail to meet the requirements of due process.

Attorneys General Schneiderman and Healey have publicly declared not only that they

believe ExxonMobil and other fossil fuel companies pose an existential risk to the planet,

but also the improper purpose of their investigations: to silence ExxonMobil’s voice in

the public debate regarding climate change and to pressure ExxonMobil to support

polices the Attorneys General favor. Even worse, Attorney General Schneiderman has

publicly accused ExxonMobil of engaging in a “massive securities fraud” without any

basis whatsoever, and Attorney General Healey declared, before her investigation even

began, that she knew how it would end: with a finding that ExxonMobil violated the

law.161     The improper political bias that inspired the New York and Massachusetts

investigations disqualifies Attorneys General Schneiderman and Healey from serving as

the disinterested prosecutors required by the Constitution.

                  In the rush to fill what Attorney General Schneiderman described as a

“[legislative] breach” in Congress regarding climate change, both he and Attorney

General Healey have also openly and intentionally infringed on Congress’s powers to

regulate interstate commerce. Their investigations seek to regulate speech and conduct

that occur almost entirely outside of New York and Massachusetts. Where a state seeks

to regulate and burden out-of-state speech, as the subpoena and the CID do here, the state

improperly encroaches on Congress’s exclusive authority to regulate interstate commerce

and violates the Dormant Commerce Clause.

                  Attorneys   General   Schneiderman    and   Healey’s   new   focus   on

ExxonMobil’s reporting of proved reserves and assets is equally impermissible. They

seek to hold ExxonMobil liable for not taking into account possible future regulations
161
      Ex. B at App. 20–21.

                                            38
   Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 39 of 49



concerning climate change and carbon emissions when estimating proved reserves and

reporting assets. But that theory cannot be reconciled with the SEC’s requirement that

ExxonMobil calculate its proved reserves based only on “existing” regulations, not future

regulations. This facet of the investigation, therefore, impermissibly conflicts with, and

poses an obstacle to, the goals and purposes of federal law. That conflict is also present

in the Attorneys General’s investigation of how ExxonMobil determines under binding

accounting rules whether an asset has become impaired.

               The subpoena and the CID also constitute an abuse of process because

they were issued for the improper purposes described above.

               ExxonMobil asserts the claims herein based on the facts available to it in

the public record from, among other things, press accounts and freedom of information

requests made by third parties. ExxonMobil anticipates that discovery from Attorneys

General Schneiderman and Healey, as well as third parties, will reveal substantial

additional evidence in support of its claims.

   EXXONMOBIL HAS BEEN INJURED BY THE SUBPOENA AND THE CID

               The subpoena and the CID have injured, are injuring, and will continue to

injure ExxonMobil.

               ExxonMobil is an active participant in the policy debate about potential

responses to climate change. It has engaged in that debate for decades, participating in

the Intergovernmental Panel on Climate Change since its inception and contributing to

every report issued by the organization since 1995.       Since 2009, ExxonMobil has

publicly advocated for a carbon tax as its preferred method to regulate carbon

emissions. Proponents of a carbon tax on greenhouse gas emissions argue that increasing



                                                39
      Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 40 of 49



taxes on carbon can “level the playing field among different sources of energy.” 162 While

Attorneys General Schneiderman and Healey and the other members of the Green 20 are

entitled to disagree with ExxonMobil’s position, no member of that coalition is entitled to

silence or seek to intimidate one side of that discussion (or the debate about any other

important public issue) through the issuance of baseless and burdensome subpoenas.

ExxonMobil intends—and has a constitutional right—to continue to advance its

perspective in the national discussions over how best to respond to climate change. Its

right to do so should not be violated through this exercise of government power.

                  As a result of the improper and politically motivated investigations

launched by Attorneys General Schneiderman and Healey, ExxonMobil has suffered,

now suffers, and will continue to suffer violations of its rights under the First, Fourth, and

Fourteenth Amendments to the United States Constitution and under Sections Eight,

Nine, and Nineteen of Article One of the Texas Constitution.               Attorneys General

Schneiderman’s and Healey’s actions also violate Articles One and Six of the United

States Constitution and constitute an abuse of process under common law.

                  Acting under the laws, customs, and usages of New York and

Massachusetts,       Attorneys   General   Schneiderman    and    Healey     have   subjected

ExxonMobil, and are causing ExxonMobil to be subjected, to the deprivation of rights,

privileges, and immunities secured by the United States Constitution and the Texas

Constitution.      ExxonMobil’s rights are made enforceable against Attorneys General

Schneiderman and Healey, who are acting under the color of law, by Article One, Section

Eight of the United States Constitution, and the Due Process Clause of Section 1 of the

Fourteenth Amendment to the United States Constitution, all within the meaning and
162
      Ex. PP at App. 402.

                                             40
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 41 of 49



contemplation of 42 U.S.C. § 1983, and by Sections Eight, Nine, and Nineteen of Article

One of the Texas Constitution.

                Absent relief, Attorneys General Schneiderman and Healey will continue

to deprive ExxonMobil of these rights, privileges, and immunities.

                In addition, ExxonMobil is threatened with further imminent injury that

will occur if it is forced to choose between conforming its constitutionally protected

speech to Attorneys General Schneiderman and Healey’s shared political views or

exercising its rights and risking sanctions and prosecution.

                The subpoena and the CID also threaten ongoing imminent injury to

ExxonMobil because they subject ExxonMobil to an unreasonable search in violation of

the Fourth Amendment. Complying with this unreasonably burdensome and unwarranted

fishing expeditions would require ExxonMobil to collect, review, and produce millions

more documents, and would cost millions of dollars.

                If ExxonMobil’s request for injunctive relief is not granted, and Attorneys

General Schneiderman and Healey are permitted to persist in their investigations, then

ExxonMobil will suffer these imminent and irreparable harms. ExxonMobil has no

adequate remedy at law for the violation of its constitutional rights.

                                  CAUSES OF ACTION

A.      First Cause of Action: Conspiracy

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                The facts set forth herein demonstrate that, acting under color of state law,

Attorneys General Schneiderman and Healey have agreed with each other, and with

others known and unknown, to deprive ExxonMobil of rights secured by the law to all,

                                             41
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 42 of 49



including those guaranteed by the First, Fourth, and Fourteenth Amendments to the

United States Constitution, as well as Sections Eight, Nine, and Nineteen of Article One

of the Texas Constitution.

                In furtherance of these objectives, Attorneys General Schneiderman and

Healey have, among other things, issued the unlawful subpoena and CID and entered the

common interest agreement described above at paragraphs 52–53. The subpoena and

CID were issued without having a good faith basis for conducting any investigation, and

with the ulterior motive of preventing ExxonMobil from enjoying and exercising its

rights protected by the First, Fourth, and Fourteenth Amendments to the United States

Constitution, as well as Sections Eight, Nine, and Nineteen of Article One of the Texas

Constitution.

                ExxonMobil has been damaged, and has been deprived of its rights under

the United States and Texas Constitutions, as a proximate result of the unlawful

conspiracy entered into by Attorneys General Schneiderman and Healey. The conduct of

Attorneys General Schneiderman and Healey therefore violates both 42 U.S.C. § 1985

and the Texas common law.

B.      Second Cause of Action: Violation of ExxonMobil’s First and Fourteenth
        Amendment Rights

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                The focus of the subpoena and the CID on one side of a policy debate—in

an apparent effort to silence, intimidate, and deter those possessing a particular viewpoint

from participating in that debate—contravenes, and any effort to enforce the subpoena or

CID would further contravene, the rights provided to ExxonMobil by the First


                                            42
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 43 of 49



Amendment to the United States Constitution, made applicable to the State of New York

and the Commonwealth of Massachusetts by the Fourteenth Amendment, and by Section

Eight of Article One of the Texas Constitution.

                The subpoena and the CID are impermissible viewpoint-based restrictions

on speech, and they burden ExxonMobil’s political speech.           Attorneys General

Schneiderman and Healey issued the subpoena and the CID based on their disagreement

with ExxonMobil regarding how the United States should respond to the risks of climate

change. And even if the subpoena and the CID had not been issued for that illegal

purpose, they would still violate the First Amendment, because they burden

ExxonMobil’s political speech without being substantially related to any compelling

governmental interest.

C.      Third Cause of Action: Violation of ExxonMobil’s Fourth and Fourteenth
        Amendment Rights

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                The issuance of the subpoena and the CID contravenes, and any effort to

enforce the subpoena would further contravene, the rights provided to ExxonMobil by the

Fourth Amendment to the United States Constitution, made applicable to the State of

New York and the Commonwealth of Massachusetts by the Fourteenth Amendment, and

by Section Nine of Article One of the Texas Constitution, to be secure in its papers and

effects against unreasonable searches and seizures.

                The subpoena and CID are each unreasonable searches and seizures

because each of them constitutes an abusive fishing expedition into 40 years of

ExxonMobil’s records, without any legitimate basis for believing that ExxonMobil


                                           43
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 44 of 49



violated New York or Massachusetts law.           Their overbroad and irrelevant requests

impose an undue burden on ExxonMobil and violate the Fourth Amendment’s

reasonableness requirement, which mandates that a subpoena be limited in scope,

relevant in purpose, and specific in directive.

D.      Fourth Cause of Action: Violation of ExxonMobil’s Fourteenth Amendment
        Rights

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                The investigations conducted by Attorneys General Schneiderman and

Healey contravene the rights provided to ExxonMobil by the Fourteenth Amendment to

the United States Constitution and by Section Nineteen of Article One of the Texas

Constitution not to be deprived of life, liberty, or property without due process of law.

                The subpoena and CID deprive ExxonMobil of due process of law by

violating the requirement that a prosecutor be disinterested. The statements by Attorneys

General Schneiderman and Healey at the Green 20 press conference and elsewhere make

clear that they are biased against ExxonMobil.

E.      Fifth Cause of Action: Violation of ExxonMobil’s Rights Under the Dormant
        Commerce Clause

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                Article I, Section 8 of the United States Constitution grants Congress

exclusive authority to regulate interstate commerce and thus prohibits the States from

doing so. The issuance of the subpoena and the CID contravenes, and any effort to

enforce the subpoena and the CID would further contravene, the rights provided to

ExxonMobil under the Dormant Commerce Clause.

                                             44
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 45 of 49



                The subpoena and the CID effectively regulate ExxonMobil’s out-of-state

speech while only purporting to investigate ExxonMobil’s marketing and/or sale of

energy and other fossil fuel derived products to consumers in New York and

Massachusetts and its marketing and/or sale of securities to investors in New York and

Massachusetts.

                The subpoena and the CID demand documents that relate to (1) statements

ExxonMobil made outside New York and Massachusetts, and (2) ExxonMobil’s

communications with organizations residing outside New York and Massachusetts. The

subpoena and CID therefore have the practical effect of primarily burdening interstate

commerce.

F.      Sixth Cause of Action: Federal Preemption

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                Article VI, Clause 2 of the United States Constitution provides that the

laws of the United States “shall be the supreme law of the land.” Any state law that

imposes disclosure requirements inconsistent with federal law is preempted under the

Supremacy Clause.

                Federal law requires ExxonMobil to calculate and report its proved oil and

gas reserves based on “existing economic conditions, operating methods, and government

regulations.” This requirement reflects the SEC’s reasoned judgment about how best to

supply investors with information about the relative value of oil and gas companies, as

well as its balancing of competing priorities, such as the agency’s desire for

comprehensive disclosures, that are not unduly burdensome, and which investors can

easily compare. Similarly, accounting standards recognized as authoritative by the SEC

                                            45
     Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 46 of 49



require ExxonMobil to use its own assumptions about future events when determining

whether assets are impaired, not the assumptions of the Attorneys General. Attorneys

General Schneiderman and Healey have stated that they seek to impose liability on

ExxonMobil for failing to account for what they believe will be the financial impact of

as-yet-unknown “carbon dioxide emissions limits put in place to stabilize global average

temperature” in estimating and reporting ExxonMobil’s proven reserves and valuing its

assets.    The Attorneys General therefore would seek to punish ExxonMobil for

complying with federal law and the accounting standards embedded therein.

                Even if the New York or Massachusetts Attorneys General were to seek

only to layer additional disclosure requirements concerning oil and gas reserves and asset

valuations beyond those imposed by the SEC, this would frustrate, and pose an obstacle

to, Congress’s and the SEC’s efforts to create a uniform market for securities and provide

consistent metrics by which investors can measure oil and gas companies on a relative

basis.

                Because these investigations under New York and Massachusetts law

create a conflict with, and pose an obstacle to, federal law, the application of New York

and Massachusetts law to this case is preempted.

G.        Seventh Cause of Action: Abuse of Process

                ExxonMobil repeats and realleges paragraphs 1 through 104 above as if

fully set forth herein.

                Attorneys General Schneiderman and Healey committed an abuse of

process under common law by (1) issuing the subpoena and the CID to ExxonMobil

without having a good faith basis for conducting an investigation; (2) having an ulterior

motive for issuing and serving the subpoena and the CID, namely, an intent to prevent

                                           46
   Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 47 of 49



ExxonMobil from exercising its right to express views with which they disagree; and

(3) causing injury to ExxonMobil’s reputation and violating its constitutional rights.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that Attorneys General Schneiderman and Healey

be summoned to appear and answer and that this Court award the following relief:

       1.       A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that the

subpoena and the CID violate ExxonMobil’s rights under the First, Fourth, and

Fourteenth Amendments to the United States Constitution; violate ExxonMobil’s rights

under Sections Eight, Nine, and Nineteen of Article One of the Texas Constitution; and

violate the Dormant Commerce Clause and the Supremacy Clause of the United States

Constitution;

       2.       A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that the

issuance of the subpoena and the CID constitute an abuse of process, in violation of

common law;

       3.       A preliminary and permanent injunction prohibiting enforcement of the

subpoena and of the CID;

       4.       Such other injunctive relief to which Plaintiff is entitled; and

       5.       All costs of court together with any and all such other and further relief as

this Court may deem proper.




                                              47
  Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 48 of 49



Dated: October 17, 2016


EXXON MOBIL CORPORATION

By: /s/ Patrick J. Conlon                  /s/ Nina Cortell
Patrick J. Conlon                          Nina Cortell
(pro hac vice)                             State Bar No. 04844500
State Bar No. 24054300                     nina.cortell@haynesboone.com
patrick.j.conlon@exxonmobil.com            HAYNES & BOONE, LLP
Daniel E. Bolia                            2323 Victory Avenue
State Bar No. 24064919                     Suite 700
daniel.e.bolia@exxonmobil.com              Dallas, TX 75219
1301 Fannin Street                         (214) 651-5579
Houston, TX 77002                          Fax: (214) 200-0411
(832) 624-6336


/s/ Theodore V. Wells, Jr.                 /s/ Ralph H. Duggins
Theodore V. Wells, Jr.                     Ralph H. Duggins
(pro hac vice)                             State Bar No. 06183700
twells@paulweiss.com                       rduggins@canteyhanger.com
Michele Hirshman                           Philip A. Vickers
(pro hac vice)                             State Bar No. 24051699
mhirshman@paulweiss.com                    pvickers@canteyhanger.com
Daniel J. Toal                             Alix D. Allison
(pro hac vice)                             State Bar. No. 24086261
dtoal@paulweiss.com                        aallison@canteyhanger.com
PAUL, WEISS, RIFKIND, WHARTON &            CANTEY HANGER LLP
GARRISON, LLP                              600 West 6th Street, Suite 300
1285 Avenue of the Americas                Fort Worth, TX 76102
New York, NY 10019-6064                    (817) 877-2800
(212) 373-3000                             Fax: (817) 877-2807
Fax: (212) 757-3990

Justin Anderson
(pro hac vice)
janderson@paulweiss.com
2001 K Street, NW
Washington, D.C. 20006-1047
(202) 223-7300
Fax: (202) 223-7420

Counsel for Exxon Mobil Corporation




                                      48
   Case 1:17-cv-02301-VEC Document 100 Filed 11/10/16 Page 49 of 49



                           CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2016, a copy of the foregoing instrument was
served on the following party via the Court’s CM/ECF system in accordance with the
Federal Rules of Civil Procedure:

Maura Healey
Massachusetts Attorney General’s Office
One Ashburton Place
Boston, MA 02108-1518
Phone: (617) 727-2200




                                                 /s/ Ralph H. Duggins
                                                 Ralph H. Duggins




                                          49
